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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                            Case No. 1:23-MJ-312

v.                                                   Hon. Ray Kent

RASHAD MALEEK TRICE,

            Defendant.
___________________________________/

                                   ORDER OF DETENTION

               Defendant appeared with counsel this date for a detention hearing and waived his

detention hearing in open court with his attorney present.

               Accordingly, pending trial in this matter, the defendant is committed to the custody

of the Attorney General or his designated representative for confinement in a corrections facility

separate, to the extent practicable, from persons serving sentences or being held in custody pending

appeal. The defendant shall be afforded a reasonable opportunity for private consultation with

his defense counsel. On order of a court of the United States or on request of an attorney for the

government, the person in charge of the corrections facility shall deliver the defendant to the

United States Marshal for the purpose of an appearance in connection with a court proceeding.

               IT IS SO ORDERED.


Dated: July 11, 2023                                         /s/ RAY KENT
                                                             Ray Kent
                                                             United States Magistrate Judge
